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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA

        - against -                                          21-CR-371(BMC) (TAM)

 RASHID SULTAN RASHID AL MALIK
 ALSHAHHI,
      also known as “Rashid Al Malik,”
      and “Rashid Al-Malik,”
 THOMAS JOSEPH BARRACK and
 MATHEW GRIMES,

                      Defendants.

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                                    NOTICE OF APPEARANCE

                PLEASE TAKE NOTICE that Assistant United States Attorney Craig R. Heeren

 from this point forward will be added as counsel in the above-captioned matter.

                All future correspondence to the United States in the above-captioned matter

 should be sent to:

                Assistant U.S. Attorney Craig R. Heeren
                United States Attorney’s Office (Criminal Division)
                271-A Cadman Plaza East
                Brooklyn, New York 11201
                Tel: (718) 254-6467
                Fax: (718) 254-6320
                Email: craig.heeren@usdoj.gov
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                In addition, the Clerk of the Court is respectfully requested to ensure that all

 future ECF notifications are sent to Assistant United States Attorney Craig R. Heeren at the

 email address set forth above.


 Dated:    Brooklyn, New York
           November 18, 2021
                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                           By:     /s/ Craig R. Heeren
                                                   Craig R. Heeren
                                                   Assistant U.S. Attorney

 cc:      Clerk of the Court (BMC) (TAM)
